                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

 IN RE:                                        )    IN CHAPTER 7 PROCEEDINGS
                                               )
 MATTHEW M. MOTIL                              )    CASE NO. 22-10571-(AIH)
                                               )
            Debtor                             )    JUDGE ARTHUR I HARRIS
                                               )
                                               )

        MOTION OF CREDITORS, DANIELLE HANSEN AND TOBY OLIVER,
        TO EXTEND TIME IN WHICH TO FILE A COMPLAINT OBJECTING
                TO DISCHARGE PURSUANT TO 11 U.S.C. § 727

       Creditors, Danielle Hansen and Toby Oliver (collectively “Movants”), respectfully move

this Court for an order, pursuant to Fed. R. Bankr. 1017(e)(1) and 4004(b), extending to until

August 3, 2022, the time in which a complaint objecting to discharge under 11 U.S.C. § 727(a)

may be filed. In support of the motion, Movants offer the following:

       1.      The debtor Matthew M. Motil (the “Debtor”) filed a voluntary chapter 7 bankruptcy

petition on March 7, 2022. Docket No. 1. In accordance with 11 U.S.C. § 701, the United States

Trustee appointed Virgil Brown to serve as the Chapter 7 trustee (the “Trustee”). The section 341

meeting of creditors (the “341 Meeting”) was initially scheduled for April 4, 2022, but was

adjourned and not opened until May 3, 2022. Dockets Nos. 2, 21. The 341 Meeting has not yet

been completed. Without an extension, June 3, 2022, is the deadline by which parties may file a

complaint for objecting to discharge.

       2.      The United States Trustee has also moved for an extension until August 3, 2022 to

file a complaint objecting to discharge, which was unopposed by the Debtor. Counsel for Movants

also requested consent to this motion from Debtor’s bankruptcy counsel, but Debtor’s bankruptcy

counsel did not consent.




22-10571-aih     Doc 43     FILED 06/03/22         ENTERED 06/03/22 10:19:54        Page 1 of 3
       3.        The schedules reflect numerous individual creditors with claims for unknown

amounts. Docket No. 1 at 20-49. Movants are among individuals whom the Debtor solicited to

provide loans for real estate investments that the Debtor directed with the promise that loans made

by Movants to Debtor would be secured by mortgages, which Debtor never recorded. To date,

two similar creditors have filed actions pursuant to 11 U.S.C. § 523 alleging inter alia that the

Debtor “obtained [credit] by false pretenses, a false representation or actual fraud,” and/or incurred

debts through “fraud or defalcation while acting in a fiduciary capacity, embezzlement, or

larceny.” Docket Nos. 23, 30. Movants may also be filing such actions, but further development

of Movants’ own investigation and those of the U.S. Trustee would be beneficial to this filing.

       4.        As of the filing of this Motion, the Debtor has not turned over financial and loan

documents to the United States Trustee requested in April and the 341 Meeting remains open.

Movants seek additional time to preserve their opportunity to file a complaint objecting to

discharge while they and the U.S. Trustee continue their investigation into the assets, liabilities,

and financial affairs of the Debtor. Counsel for Movants attended the first 341 Meeting and intends

to attend the next scheduled portion of the 341 Meeting, as well as to continue Movants’ own

investigation.

       WHEREFORE, the Movants request that this Court enter an order extending to until

August 3, 2022, the Movants’ deadline to file a complaint objecting to the Debtor’s discharge

under 11 U.S.C. § 727(a).


                                               Respectfully submitted,


                                               /s/ Matthew R. Duncan
                                               Matthew R. Duncan (#0076420)
                                               Email: mrduncan@bmdllc.com
                                               Brennan, Manna & Diamond, LLC


                                                  2

22-10571-aih       Doc 43     FILED 06/03/22       ENTERED 06/03/22 10:19:54            Page 2 of 3
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                                             Attorney for Creditors, Danielle Hansen
                                                    and Toby Oliver


                                   CERTIFICATE OF SERVICE

       I, Matthew R. Duncan, hereby certify that the foregoing Motion was electronically
transmitted on or about June 3, 2022, via the Court’s CM/ECF system to all parties listed on the
Court’s Electronic Mail List, including:

    •    Virgil E. Brown virgil@vebtrustee.com, vbrownjr@ecf.axosfs.com
    •    Evan T. Byron etb@kdglegal.com, hlb@kdglegal.com
    •    Thomas W. Coffey tcoffey@tcoffeylaw.com
    •    Daniel A. Cox bankruptcy@woodlamping.com, dacox@woodlamping.com
    •    Eric R. Neuman eric@drlawllc.com, kim@drlawllc.com; r50765@notify.bestcase.com;
         raymond@drlawllc.com; leanne@drlawllc.com
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         mnowak@meyersroman.com
    •    Jody Michelle Oster jodymoster@gmail.com
    •    United States Trustee (Registered address)@usdoj.gov
    •    Scott R. Belhorn Scott.R.Belhorn@usdoj.gov

    I, Matthew R. Duncan, further certify that the foregoing Motion was mailed via U.S. Post,
First Class, on June 3, 2022, to the following:

         Matthew Motil
         7011 Chadbourne Drive
         North Olmsted, OH 44070



                                             /s/ Matthew R. Duncan
                                             Matthew R. Duncan (#0076420)
                                             Attorney for Creditors, Danielle Hansen
                                                     and Toby Oliver


4895-4636-3683, v. 1




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22-10571-aih           Doc 43   FILED 06/03/22   ENTERED 06/03/22 10:19:54         Page 3 of 3
